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6                                     UNITED STATES DISTRICT COURT

7                                             DISTRICT OF NEVADA
8
                                                           ***
9        BRIT FANUEL AUGBORNE, III,                          Case No. 2:19-cv-01204-KJD-BNW

10                                             Petitioner, ORDER
11               v.
12
         BRIAN WILLIAMS, et al.,
13
                                           Respondents.
14

15             On November 12, 2020, this court denied pro se 28 U.S.C. § 2254 habeas
16   corpus petitioner Brit Fanuel Augborne, III’s motion to grant petition and motion for
17   reconsideration (ECF Nos. 16 and 18).
18             The court further directed Augborne to choose to either (1) return to state court to
19   exhaust his unexhausted petition, in which case his federal habeas petition will be
20   denied without prejudice; 1 or (2) file a motion asking this court to stay and abey his
21   unexhausted federal habeas petition while he returns to state court to exhaust his
22   unexhausted claims.
23             On January 5, 2021, Augborne filed a motion for a status check (ECF No. 27).
24   While not entirely clear, it appears from this filing that Augborne did not receive the
25   order denying his motions to grant petition and for reconsideration. Out of an
26   abundance of caution, the court directs the Clerk of Court to resend a copy of the order
27   at ECF No. 26 dated November 12, 2020.
28   1
         The court makes no assurances as to the timeliness of any future-filed petition.
                                                            1
     Case 2:19-cv-01204-KJD-BNW Document 28 Filed 01/11/21 Page 2 of 2




1           Augborne will have 30 days from the date of this order to make his election

2    regarding unexhausted claims. The court is highly unlikely to extend that deadline,

3    absent extraordinary circumstances.

4           IT IS THEREFORE ORDERED that the Clerk send to petitioner one copy of this

5    court’s order dated November 12, 2020 at ECF No. 26.

6           IT IS FURTHER ORDERED that petitioner’s motion for an order and status

7    check (ECF No. 27) is DENIED.

8           IT IS FURTHER ORDERED that within 30 days of the date of this order

9    petitioner must either:

10                  1.    Inform the court that he wishes to return to state court to
11          exhaust his unexhausted petition, in which case his federal habeas petition
            will be denied without prejudice; or
12
                  2.     File a motion asking this court to stay and abey his
13          unexhausted federal habeas petition while he returns to state court to
            exhaust his unexhausted claims.
14
            IT IS FURTHER ORDERED that if petitioner fails to respond to this order,
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     this action may be dismissed.
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            DATED: 11 January 2021.
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                                                     KENT J. DAWSON
20                                                   UNITED STATES DISTRICT JUDGE
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